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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

DANIEL LUGO,

               Plaintiff,
v.
                                                             CASE NO.

MONTEREY CONDOMINIUM
MOTEL ASSOCIATION, INC.,

          Defendant.
_________________________________/

                                    COMPLAINT

      Plaintiff, Daniel Lugo, by and through his undersigned counsel, hereby

sues the Defendant, Monterey Condominium Motel Association, Inc., for injunctive

relief pursuant to the Americans With Disabilities Act, 42 U.S.C. §12181, et seq.

(the "ADA") and in support thereof states as follows:

                                   JURISDICTION

         1. This court has subject-matter jurisdiction since this action arises

pursuant to 28 U.S.C. § 1331 and §1343 and Plaintiff’s claims arise under 42

U.S.C. §12181 et seq. based upon Defendant's violations of Title III of the ADA.

                                         VENUE

          2.     Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b)

(2) because a substantial part of the events or omissions giving rise to the claim
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occurred in this district and the facility, whose online reservation system is at issue

herein, is situated in this district.

                                        PARTIES

           3. Plaintiff, Daniel Lugo, is an individual who is over eighteen years of

age and sui juris. Plaintiff is disabled as such term is defined by the ADA and is

substantially limited in performing one or more major life activities due to

permanent damage to his spinal cord as a result of a broken neck caused by a

motor vehicle accident. Plaintiff must use a wheelchair to ambulate. Plaintiff also

has limited use of his hands and fingers. Defendant's online lodging reservation

system fails to comply with any of the requirements of 28 C.F.R. §36.302(e) and

therefore Plaintiff's full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations offered thereon are restricted and

limited because of Plaintiff’s disability and will be restricted in the future unless

and until Defendant is compelled to cure the substantive ADA violations contained

on its online reservation system. Plaintiff intends to visit the online reservation

system for Defendant's hotel in the near future, and within thirty (30) days, to book

a room and utilize the goods, services, facilities, privileges, advantages and/or




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accommodations being offered and/or to test the online reservation system for

compliance with 28 C.F.R. §36.302(e).

         4. Defendant is the owner and/or operator of the Monterey On The Beach

located at 17880 Gulf Boulevard in Redington Shores, Florida ("the Monterey").

The online reservation system for the Monterey is found at

www.montereyonthebeach.com.

         CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

         5. On July 26, 1990, Congress enacted the ADA explaining that the

purpose of the ADA was to provide a clear and comprehensive national mandate

for the elimination of discrimination against individuals with disabilities and to

provide clear, strong, consistent, enforceable standards addressing said

discrimination, invoking the sweep of congressional authority in order to address

the major areas of discrimination faced day-to-day by people with disabilities to

ensure that the Federal government plays a central role in enforcing the standards

set by the ADA. (42 U.S.C. § 12101(b)(1)-(4)).

         6. Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15,

2010, the Department of Justice, Office of the Attorney General, published revised

regulations for Title III of the Americans With Disabilities Act of 1990 in the

Federal Register to implement the requirements of the ADA. Public




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accommodations, including places of lodging, were required to conform to these

regulations on or before March 15, 2012.

            7. On March 15, 2012, new regulations implementing Title III of the

ADA took effect, imposing significant new obligations on inns, motels, hotels and

other "places of lodging". 28 C.F.R. §36.302(e) states:

       ''(1) Reservations made by places of lodging. A public accommodation that
owns, leases (or leases to), or operates a place of lodging shall, with respect to
reservations made by any means, including by telephone, in-person, or through a
third party -
(i) Modify its policies, practices, or procedures to ensure that individuals with
disabilities can make reservations for accessible guest rooms during the same hours
and in the same manner as individuals who do not need accessible rooms;
(ii) Identify and describe accessible features in the hotels and guest rooms offered
through its reservations service in enough detail to reasonably
permit individuals with disabilities to assess independently whether a given hotel
or guest room meets his or her accessibility needs;1
(iii) Ensure that accessible guest rooms are held for use by individuals with
disabilities until all other guest rooms of that type have been rented and the
accessible room requested is the only remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
and ensure that the guest rooms requested are blocked and removed from all
reservations systems; and
(v) Guarantee that the specific accessible guest room reserved through its
reservations service is held for the reserving customer, regardless of whether a
specific room is held in response to reservations made by others."

1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
Justice's official comments state that "information about the Hotel should include, at a minimum, information about
accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
route to the accessible room or rooms. In addition to the room information described above, these hotels should
provide information about important features that do not comply with the 1991 Standards." An agency's
interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405 (1994).


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        8. The Monterey is a place of public accommodation that owns and/or

leases and operates a place of lodging pursuant to the ADA. The Monterey has an

online reservation system whereby potential patrons may reserve a room. The

reservation system is subject to the requirements of 28 C.F.R.§ 36.302(e) and

Defendant is responsible for said compliance.

        9. Most recently, during January, 2022 Plaintiff attempted to specifically

identify and book a guaranteed reservation for an accessible room at the Monterey

through the Monterey’s online reservation system but was unable to do so due to

Defendant's failure to comply with the requirements set forth in paragraph 7.

        10. Plaintiff is an advocate of the rights of similarly situated disabled

persons and, pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323

(11th Cir. 2013), is a "tester" for the purpose of asserting his civil rights,

monitoring, ensuring, and determining whether places of public accommodation,

including online reservation systems for places of lodging, are in compliance with

the ADA.

        11. Defendant has discriminated against Plaintiff by denying him access

to and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and accommodations offered through the Monterey’s online

reservation system due to the substantive ADA violations contained thereon.




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       12. The online reservation system for the Monterey encountered by

Plaintiff when he visited it failed to comply with any of the requirements of 28

C.F.R.§ 36.302(e)(1). When Plaintiff visited the Monterey's online reservation

system, he tried to make a reservation for an accessible room at the Monterey,

since he requires an accessible room due to his inability to walk, but it was not

possible to make such a reservation. It was possible to reserve a room that was not

accessible. For this reason Defendant has no policy, practice, or procedure in place

to ensure that individuals with disabilities can make reservations for accessible

rooms during the same hours and in the same manner as individuals who do not

need accessible rooms. This constitutes a violation of 28 C.F.R.§ 36.302(e)(1)(i).

When Plaintiff visited the Monterey's online reservation system, he searched the

site for the identification and descriptions of accessible features at the Monterey

and rooms offered through the reservation service so that he could assess

independently whether the Monterey or a specific room at the Monterey met his

accessibility needs in light of his disability but the reservations service contained

no such descriptions at all. This constitutes a violation of 28 C.F.R.§

36.302(e)(1)(ii). In light of the foregoing, Defendant also necessarily violated 28

C.F.R. §36.302(e)(1)(iii)-(v) in that since the online reservations service does not

describe any accessible room and does not, in turn, allow the reserving of such

accessible room, the Website cannot hold such unavailable accessible rooms in the



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reservations system until all other units have been rented, block such unavailable

accessible rooms from the system once reserved, and guaranty that such

unavailable accessible rooms will be held for the reserving customer as required by

sections (iii) - (v) respectively.

      13. Plaintiff is without an adequate remedy at law and is suffering

irreparable harm and he reasonably anticipates that he will continue to suffer

irreparable harm unless and until Defendant is required to correct the ADA

violations to the online reservations system for the Monterey and maintain the

online reservations system and accompanying policies in a manner that is

consistent with and compliant with the requirements of 28 C.F.R. §36.302(e).

       14. Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

and expenses from Defendant, including litigation expenses and costs pursuant to

42 U.S.C. §12205.

       15. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority

to grant injunctive relief to Plaintiff, including an Order compelling Defendant to

implement policies, consistent with the ADA, to accommodate the disabled, by




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requiring Defendant to alter and maintain its online reservations system in

accordance with the requirements set forth in paragraph 7 above.2

         WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

permanent injunction enjoining Defendant from continuing its discriminatory

practices, ordering Defendant to implement policies, consistent with the ADA, to

accommodate the disabled, through requiring Defendant to alter and maintain the

online reservations system for the Monterey in accordance with the requirements

set forth in paragraph 7 above, and awarding Plaintiff reasonable attorneys’ fees,

litigation expenses, including expert fees, and costs.

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2 The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of its online reservations system. As rates and classes of rooms at the
Monterey and the number and type of rooms, beds, accommodations and amenities offered in the various unit types
change from time to time, the availability of accessible units must be re-dispersed across these various price points,
classes, as well as across units with disparate features (2010 ADA Standard 224.5). In light of the foregoing, in
addition to regular ongoing website maintenance and to reflect physical changes at the Monterey, the online
reservations system must continuously be updated to properly reflect and describe Defendant's compliance with the
substantive ADA Standards regarding accessible rooms in accordance with 28 C.F.R. 36.302(e)(1).


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